Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 1 of 684




             EXHIBIT 3-D
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 2 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 3 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 4 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 5 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 6 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 7 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 8 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 9 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 10 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 11 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 12 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 13 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 14 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 15 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 16 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 17 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 18 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 19 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 20 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 21 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 22 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 23 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 24 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 25 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 26 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 27 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 28 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 29 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 30 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 31 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 32 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 33 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 34 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 35 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 36 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 37 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 38 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 39 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 40 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 41 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 42 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 43 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 44 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 45 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 46 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 47 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 48 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 49 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 50 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 51 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 52 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 53 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 54 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 55 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 56 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 57 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 58 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 59 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 60 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 61 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 62 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 63 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 64 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 65 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 66 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 67 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 68 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 69 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 70 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 71 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 72 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 73 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 74 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 75 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 76 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 77 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 78 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 79 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 80 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 81 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 82 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 83 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 84 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 85 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 86 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 87 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 88 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 89 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 90 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 91 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 92 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 93 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 94 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 95 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 96 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 97 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 98 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 99 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 100 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 101 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 102 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 103 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 104 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 105 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 106 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 107 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 108 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 109 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 110 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 111 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 112 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 113 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 114 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 115 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 116 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 117 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 118 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 119 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 120 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 121 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 122 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 123 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 124 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 125 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 126 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 127 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 128 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 129 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 130 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 131 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 132 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 133 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 134 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 135 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 136 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 137 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 138 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 139 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 140 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 141 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 142 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 143 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 144 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 145 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 146 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 147 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 148 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 149 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 150 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 151 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 152 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 153 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 154 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 155 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 156 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 157 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 158 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 159 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 160 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 161 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 162 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 163 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 164 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 165 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 166 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 167 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 168 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 169 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 170 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 171 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 172 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 173 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 174 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 175 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 176 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 177 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 178 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 179 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 180 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 181 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 182 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 183 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 184 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 185 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 186 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 187 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 188 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 189 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 190 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 191 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 192 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 193 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 194 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 195 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 196 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 197 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 198 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 199 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 200 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 201 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 202 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 203 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 204 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 205 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 206 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 207 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 208 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 209 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 210 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 211 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 212 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 213 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 214 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 215 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 216 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 217 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 218 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 219 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 220 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 221 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 222 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 223 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 224 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 225 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 226 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 227 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 228 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 229 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 230 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 231 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 232 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 233 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 234 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 235 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 236 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 237 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 238 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 239 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 240 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 241 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 242 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 243 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 244 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 245 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 246 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 247 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 248 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 249 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 250 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 251 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 252 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 253 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 254 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 255 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 256 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 257 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 258 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 259 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 260 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 261 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 262 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 263 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 264 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 265 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 266 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 267 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 268 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 269 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 270 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 271 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 272 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 273 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 274 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 275 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 276 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 277 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 278 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 279 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 280 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 281 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 282 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 283 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 284 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 285 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 286 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 287 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 288 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 289 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 290 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 291 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 292 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 293 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 294 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 295 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 296 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 297 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 298 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 299 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 300 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 301 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 302 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 303 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 304 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 305 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 306 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 307 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 308 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 309 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 310 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 311 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 312 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 313 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 314 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 315 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 316 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 317 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 318 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 319 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 320 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 321 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 322 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 323 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 324 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 325 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 326 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 327 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 328 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 329 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 330 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 331 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 332 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 333 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 334 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 335 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 336 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 337 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 338 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 339 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 340 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 341 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 342 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 343 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 344 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 345 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 346 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 347 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 348 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 349 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 350 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 351 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 352 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 353 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 354 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 355 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 356 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 357 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 358 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 359 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 360 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 361 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 362 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 363 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 364 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 365 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 366 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 367 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 368 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 369 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 370 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 371 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 372 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 373 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 374 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 375 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 376 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 377 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 378 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 379 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 380 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 381 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 382 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 383 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 384 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 385 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 386 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 387 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 388 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 389 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 390 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 391 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 392 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 393 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 394 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 395 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 396 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 397 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 398 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 399 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 400 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 401 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 402 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 403 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 404 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 405 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 406 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 407 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 408 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 409 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 410 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 411 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 412 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 413 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 414 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 415 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 416 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 417 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 418 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 419 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 420 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 421 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 422 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 423 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 424 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 425 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 426 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 427 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 428 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 429 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 430 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 431 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 432 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 433 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 434 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 435 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 436 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 437 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 438 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 439 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 440 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 441 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 442 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 443 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 444 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 445 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 446 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 447 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 448 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 449 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 450 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 451 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 452 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 453 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 454 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 455 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 456 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 457 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 458 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 459 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 460 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 461 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 462 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 463 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 464 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 465 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 466 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 467 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 468 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 469 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 470 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 471 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 472 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 473 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 474 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 475 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 476 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 477 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 478 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 479 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 480 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 481 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 482 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 483 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 484 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 485 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 486 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 487 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 488 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 489 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 490 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 491 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 492 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 493 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 494 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 495 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 496 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 497 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 498 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 499 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 500 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 501 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 502 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 503 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 504 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 505 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 506 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 507 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 508 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 509 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 510 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 511 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 512 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 513 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 514 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 515 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 516 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 517 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 518 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 519 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 520 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 521 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 522 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 523 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 524 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 525 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 526 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 527 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 528 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 529 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 530 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 531 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 532 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 533 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 534 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 535 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 536 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 537 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 538 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 539 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 540 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 541 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 542 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 543 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 544 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 545 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 546 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 547 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 548 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 549 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 550 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 551 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 552 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 553 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 554 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 555 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 556 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 557 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 558 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 559 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 560 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 561 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 562 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 563 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 564 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 565 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 566 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 567 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 568 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 569 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 570 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 571 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 572 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 573 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 574 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 575 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 576 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 577 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 578 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 579 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 580 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 581 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 582 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 583 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 584 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 585 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 586 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 587 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 588 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 589 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 590 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 591 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 592 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 593 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 594 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 595 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 596 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 597 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 598 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 599 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 600 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 601 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 602 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 603 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 604 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 605 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 606 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 607 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 608 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 609 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 610 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 611 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 612 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 613 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 614 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 615 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 616 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 617 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 618 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 619 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 620 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 621 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 622 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 623 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 624 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 625 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 626 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 627 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 628 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 629 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 630 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 631 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 632 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 633 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 634 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 635 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 636 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 637 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 638 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 639 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 640 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 641 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 642 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 643 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 644 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 645 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 646 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 647 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 648 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 649 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 650 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 651 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 652 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 653 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 654 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 655 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 656 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 657 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 658 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 659 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 660 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 661 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 662 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 663 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 664 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 665 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 666 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 667 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 668 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 669 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 670 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 671 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 672 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 673 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 674 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 675 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 676 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 677 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 678 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 679 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 680 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 681 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 682 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 683 of 684
Case 1:19-cv-00150-DLF Document 202-6 Filed 08/29/23 Page 684 of 684
